                 Case 2:08-cr-00471-KJM Document 43 Filed 08/16/10 Page 1 of 2


1    LAW OFFICES OF JOHNNY L. GRIFFIN III
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3    Telephone: (916) 444-5557
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4

5                                IN THE UNITED STATES DISTRICT COURT
6                             FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA,                                 )   Case No.: Cr.S-08-471-GEB
                                                               )
9                      Plaintiff,                              )   ORDER TO RELEASE PASSPORT TO
                                                               )   DEFENDANT DALJIT SEKHON
10            vs.                                              )
                                                               )   DATE: August 12, 2010
11                                                             )
     DALJIT SEKHON                                             )
12                                                             )   Hon. Garland E. Burrell
                       Defendant.                              )
13                                                             )
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15
              Defendant, by and through her undersigned counsel, hereby move the court for an order

16
     authorizing her to travel outside the Eastern District of California, and for the Clerk of the United

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     States District Court for the Eastern District of California to release her passport for this travel.

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              Specifically, Defendant requests to travel to Toronto, Canada leaving on August 19, 2010

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     and returning on August 23, 2010. The purpose of this travel is to attend a weeding. Defendant

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     will need her passport for this travel, which was previously surrendered to the Clerk of the

21
     United States District Court for the Eastern District of California. Defendant’s Passport Number

22
     is 159234165. Defendant will surrender her passport back to the Clerk’s Office no later than

23
     August 24, 2010. The Government has been advised of these requests and has no objection. 1

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     ///

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     1
      It should be noted that though Defendant is on pretrial release, she is not being supervised by Pretrial Services.
     Therefore, authorization was not sought from Pretrial Services.
                Case 2:08-cr-00471-KJM Document 43 Filed 08/16/10 Page 2 of 2


1            Respectfully submitted,
2            Dated: August 12, 2010                       /s/ Mark J. Reichel__
                                                          MARK J. REICHEL 2
3
                                                          Attorney for Defendant
                                                          Daljit Sekhon
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             The United States of America, by and through its undersigned attorney, Assistant United
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     States Attorney Matthew Segal, has no objections to Defendant’s request for travel to Toronto,
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     Canada leaving on August 19, 2010 and returning on August 23, 2010. Further, the United
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     States does not object to the release of her passport for this travel with the condition that it be
9
     surrendered back to the Clerk’s Office no later than close of business on August 24, 2010.
10

11           Dated: August 12, 2010                       /s/ Matthew Segal _
                                                          Matthew Segal 3
12                                                        Assistant United States Attorney

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             IT IS SO ORDERED.
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             Dated: 8/13/10
16                                                    GARLAND E. BURRELL, JR.
                                                      United States District Judge
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24   2
       Based on the unavailability of Attorney Mark Reichel, and the urgency in obtaining the passport, Attorney Johnny
     L. Griffin, III was requested and authorized to electronically file this Proposed Order on Defendant’s behalf.
25   3
       Assistant United States Attorney Matthew Segal telephonically authorized attorney Johnny L. Griffin, III to sign
     this Stipulation and Order on his behalf.
